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Adriana Cara SBN # 221915__
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FISHERBR ES LL

1902 Wrig ht Place, Suite 200
Carlsbad, gCA 92008

adriana. cara hsherbro les. com
Te ep one: 91 - 35
Facslmile: ( 60) 918- 5638
Attorney for Defendant, Vaxcel Intemational Co., Ltd.

     

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

EASTERN DIVISION
MINKA LIGHTING, INC. Case No. 5:18-cv-947
Plaintiff,
NOTICE OF MOTION TO
v. DISMISS COMPLAINT
XF?B(CEL INTERNATIONAL CO., Honorable George H. Wu
" Date: August 2, 2018
Defendant.
Time: 10:00 a.m.

 

 

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NOTICE OF MOTION TO DISMISS COMPLAINT

 

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PLEASE TAKE NOTICE that on Thursday, August 2, 2018 at 10:00 am
or as soon thereafter as counsel can be heard, Defendant, VAXCEL
INTERNATIONAL CO., LTD., ("Defendant"), by and through its counsel
FisherBroyles LLP, shall move this Court located at 350 W. 1st Street, 6th
Floor, Courtroom 9D, Los Angeles, CA 90012 for an Order Dismissing
Plaintiffs Complaint in accordance with Fed. R. Civ. P. l2(b)(6).

PLEASE TAKE FURTHER NOTICE that Defendant shall rely upon the
Memorandum in Support of its Motion to Dismiss Plaintiff’s Complaint.

PLEASE TAKE FURTHER NOTICE that oral argument is requested if
the Motion is contested.

PLEASE TAKE FURTHER NOTICE that this Motion is made following
the conference of counsel pursuant to L.R. 7-3, Which took place on June 26,
2018. At that conference, Plaintiff did not agree to Withdraw the Complaint and
stated that it needed time to discuss its response. To date, Plaintiff has not

responded, despite an email request from Defendant to do so.

Respecthllly submitted,

FISHERBROYLES LLP

/s/Aa’riana Cara
Adriana Cara
Email:
adriana.cara@tisherbrovles.com

Attorneyfor Defendant

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NOTICE OF MOTlON TO DISMISS COMPLAINT

 

 

